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   Angel Perry                                                                        Invoice date September 2, 2020
                                                                                       Invoice No.            44212
                                                                                      Account No.          2808.000
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      Angel Perry v. John Guerrieri


                                   For services rendered through 07/27/2020 as follows:

                                                                                            Rate     Hours




02/25/2020


                 ST    Review/analyze files on thumb drive produced by
                       defendant; review/analyze prior orders and determine
                       strategy with respect to motion for sanctions for failure to
                       comply with order                                                  240.00      0.50       120.00

02/26/2020       ST    Review/analyze documents produced by defendant for
                       purposes of preparing motion for sanctions for failure to
                       comply with court order; confer with associate re:
                       preparing motion for sanctions for failure to comply with
                       court order; review/analyze federal rules re: duty to return
                       privileged material to determine proper handling of
                       materials of flash drive provided by defendant's counsel
                       that appear to be related to a different case                      240.00      1.00       240.00
                 ALM   Conference with Attorney Trien regarding posture of case
                       and completion of Motion to Strike the Defendant's
                       Answer and for a Default Judgment. Begin preparing
                       motion papers.                                                     225.00      2.10       472.50




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   Angel Perry                                                                       Invoice date       09/02/2020
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                                                                                       Rate         Hours
02/27/2020

              ALM    Complete preparation of papers for a Motion to Strike the
                     Defendant's Answer and for Default Judgment.                    225.00          2.90      652.50
              ST     Draft/revise letter to M Geraci re: disclosure of potentially
                     privileged material improperly produced by defendant in
                     violation of court order;

                         r                                                           240.00          0.50      120.00




03/03/2020    ST     Continue to draft/revise notice of motion and attorney
                     affirmation with exhibits in support of motion for sanctions
                     to strike answer                                                240.00          1.00      240.00
              ALM    Final additions to Notice of Motion, Memorandum of Law
                     and Attorney Declaration, including docket citations.           225.00          1.00      225.00

03/06/2020    ST     Continue to draft/revise notice of motion; attorney
                     affirmation; and memorandum of law in support of motion
                     for sanctions for failure to comply with court order;
                     draft/revise letter to the Court re: same                       240.00          4.00      960.00


03/10/2020    ST     Meeting with S. Cole re: strategy for return date on
                     motion for sanctions                                            240.00          0.25       60.00

03/19/2020    ST     Review/analyze motion papers in preparation for oral
                     argument on motion for sanctions including striking of
                     pleadings                                                       240.00          0.50      120.00

03/30/2020    ST     Draft/revise letter to Court re: status of outstanding
                     motions and jurisdiction of magistrate judge;
                     review/analyze forensic report produced by defendant's
                     counsel, hand delivered today                                   240.00          1.30      312.00

03/31/2020    ST     Receive/review attorney declaration filed by defendant;
                     revise letter to Court re: transfer to magistrate and
                     defendant's untimely filing; prepare for and attend oral
                     argument on plaintiff's motion for sanctions to strike
                     defendant's pleadings; draft/revise electronic
                     correspondence to the client re:
                                                                                     240.00          3.50      840.00




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       Angel Perry                                                                       Invoice date       09/02/2020
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       RE: Angel Perry v. John Guerrieri                                                 Page No.                    3



                                                                                           Rate         Hours




    05/26/2020    ST     Receive/review motion filed by defendant seeking leave
                         to file late objections to Report & Recommendations             240.00          0.25       60.00

    06/05/2020    ST     Review/analyze defendant's motion for leave to file late
                         objections and authorities cited in defendant's
                         memorandum of law                                               240.00          1.30      312.00

    06/10/2020    ST     Draft/revise attorney affirmation in opposition to motion for
                         leave to file late objection to Magistrate's Report and
                         answer to amended complaint; draft/revise memorandum
                         of law in opposition to motion for leave to file objection to
                         Magistrate Report and answer to corrected complaint
                                                                                         240.00          7.70    1,848.00

    06/11/2020    ST     Continue to draft/revise memorandum of law and
                         attorney affirmation in response in opposition to motion
                         for leave to file late objections to report and
                         recommendation; legal research re:
                                              ; legal research re
                                                                                 ;
                         confer with S. Cole re: strategy with respect to

                                            research re:
                                                                                         240.00          7.50    1,800.00


*   06/15/2020    ST     Legal research re:
                                  ; draft/revise Memorandum of Law in support of
                         motion for default                                              240.00          2.00      480.00
                  SEC    Confer with S. Trien re:
                                                                                         350.00          0.50      175.00



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       Angel Perry                                                                      Invoice date       09/02/2020
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                                                                                          Rate         Hours


*   06/18/2020    ST     Continue to draft/revise memorandum of law in support
                         of motion for default and for leave to file default
                         judgment, attorney affirmation, and notice of motion in
                         support thereof                                                240.00          5.00    1,200.00


*   06/19/2020    ST     Continue to draft/revise and finalize memorandum of law,
                         attorney affirmation, and notice of motion for default;
                         receive/review electronic correspondence from the Court
                         re: status conference; draft/revise electronic
                         correspondence to the Court re: status conference with
                         Judge Larimer; draft/revise letter to J Pedersen re:
                         motion for default; draft/revise electronic correspondence
                         to the client re:

                                                                                        240.00          2.00      480.00




**06/24/2020      SEC    Prepare for and attend status conference with Court            350.00          1.50      525.00
                                                                                                                 262.50
**06/24/2020      ST     Prepare for conference before Judge Larimer re: pending
                         motion for leave to file late objections, pending motion for
                         default, outstanding discovery, and damages and
                         attorney's fees to date; draft/revise electronic
                         correspondence to plaintiff's counsel re: possible
                         settlement; attend Court conference re: defendant's
                         motion for leave to file late objections, plaintiff's motion



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      Angel Perry                                                                      Invoice date       09/02/2020
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      RE: Angel Perry v. John Guerrieri                                                Page No.                    5



                                                                                         Rate         Hours
                        for default, and outstanding discovery; confer with S.                                  576.00
                        Cole re: strategy in light of confernce                        240.00          4.80    1,152.00



   06/25/2020    ST     Draft/revise letter to the Court and defendant's counsel
                        regarding outstanding discovery at this time as per the
                        Court's directive                                              240.00          2.50      600.00

   06/26/2020    ST     Continue to draft/revise letter to defendants' counsel re:
                        outstanding discovery                                          240.00          1.00      240.00
                 SEC    Review and revise letter to M. Geraci re: additional
                        document production                                            350.00          0.30      105.00

   06/29/2020    ST     Receive/review correspondence from defendant's
                        counsel with supplemental production of documents;
                        draft/revise letter to defendant's counsel re: deficiencies
                        in document production                                         240.00          3.00      720.00
                 AD     Organize and review documents received from
                        Defendant's counsel.                                            95.00          0.70       66.50
                 SEC    Review draft letter to M. Geraci; confer with S. Trien re:
                        revisions to same                                              350.00          0.10       35.00

   06/30/2020    ST     Continue to draft/revise letter to Defendant's counsel re:
                        history of discovery issues and continued deficiencies in
                        production of June 28, 2020                                    240.00          1.30      312.00

   07/01/2020    ST     Continue to draft/revise letter to Defendant and the Court
                        re: continued deficiencies in Defendant's failure to
                        comply with discovery orders; draft/revise electronic
                        correspondence to the client re:


                                                                                       240.00          0.70      168.00



   07/02/2020    ST     Receive/review correspondence from M Geraci and
                        attached report from S Harrington                              240.00          0.25       60.00


* 07/07/2020     ST     Review/analyze defendant's papers filed in response to
                        motion for default in preparation for drafting reply to same   240.00          1.50      360.00


* 07/10/2020     ST     Review/analyze defendant's submissions in opposition to
                        motion for default in preparation for drafting reply and
                        determine strategy for reply papers                            240.00          1.00      240.00


 * 07/13/2020    ST     Review/analyze defendant's response in opposition to



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     Angel Perry                                                                    Invoice date       09/02/2020
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                                                                                       Rate        Hours
                       motion for default and cases cited therein; research re:



                                        draft/revise reply memorandum of law in
                       support of motion for default; draft/revise reply attorney
                       declaration in support of motion for default                  240.00        10.50    2,520.00


 *07/14/2020    ST     Draft/revise additional portions of Reply Attorney
                       Declaration; research re:

                                                      continue to draft/revise
                       Reply Memorandum of Law                                       240.00         8.00    1,920.00




**07/23/2020    ST     Review/analyze motion papers and prepare for oral
                       argument on defendant's motion for leave to file late
                       objections to the Magistrate's Report and
                       Recommendations and plaintiff's motion for default;
                       confer with S. Cole re: strategy with respect to said oral
                       argument                                                      240.00         1.70      408.00
                                                                                                             204.00
**07/24/2020    ST     Review/analyze motion papers for motion for leave to file
                       late objections and motion for default in preparation for
                       oral argument                                                 240.00         2.00      480.00
                                                                                                              240.00
**07/26/2020    ST     Review/analyze papers filed in connection with
                       defendant's motion for leave to file late objections and
                       papers filed in connection with plaintiff's motion for
                       default, review/analyze caselaw cited in said papers, and
                       prepare arguments for oral argument on both motions           240.00         5.50    1,320.00
                                                                                                             660.00
**07/27/2020    ST     Review/analyze cases cited in connection with and
                       prepare arguments for oral argument on defendant's
                       motion for leave to file late objections and plaintiff's
                       motion for default; attend oral argument on said motions;
                       confer with S. Cole re: status and strategy following oral                            515.00
                       argument                                                      240.00         4.30    1,032.00




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